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                       EXHIBIT B
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August 22, 2023
Sent Via E-mail: copyright@kickstarter.com, support@kickstarter.com
Re: DMCA Counter Notice re Anymaka: The Portable Hammock
Stand that Sets Up in 3 Seconds


Dear Kickstarter Copyright Team,
I am writing to you to avail myself of my rights under the Digital Millennium Copyright Act
(DMCA). This letter is a Counter-Notification as authorized in § 512(g) of the U.S. Copyright
Law. My contact information is as follows:

Description of Removed/Disabled Material: Anymaka-the-portable-hammock-stand-that-
setsup-in-3-seconds

The material in question formerly appeared on Kickstarter under the following URLs:
https://www.kickstarter.com/projects/anymaka/anymaka-the-portable-hammock-stand-that-
setsup-in-3-seconds

Subscriber Name: Easthills Inc.

Subscriber Address: 201 E CENTER ST STE 112 #3500, ANAHEIM, CA 92805, US

Subscriber Telephone Number: (872)222-6357

Address for Service of Process: 201 E CENTER ST STE 112 #3500, ANAHEIM, CA 92805,
US

I have a good faith belief that the material removed or disabled following the Notice of
Infringement was removed or disabled because of mistake or misidentification of the material.

In consideration of the below, demand is hereby made by Easthills Inc., owner of the Kickstarter
campaign entitled “Anymaka: The Portable Hammock Stand that Sets Up in 3 Seconds” (the
“Kickstarter Campaign”) for the immediate reinstatement and resumption of said Kickstarter
campaign as provided by Title 17 U.S.C. 512(g)(2) and (3).

I consent to the jurisdiction of the Federal District Court in which Kickstarter’s may be found,
namely, the Eastern District of New York. I agree to accept service of process from the person
who provided the Notice of Infringement or an agent of such person.The Kickstarter campaign
was removed or disabled from Kickstarter as a result of a complaint letter submitted by Loyal I.P.
Law on behalf of Kammok Holdings, LLC (“Kammock”). The letter from Kammock claims
Copyright, Trademark, and Patent infringement. Each of these are bad faith assertions of rights
that Kammock either does not, or cannot – as a matter of law – have.




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                  Kammock Does Not – and Cannot – Have A Valid Copyright

Kammock has provided no tangible evidence that the material in question is in fact copyrighted as
claimed and has not provided any verification of ownership of any rights. I have a good faith belief
that Kammock does not own any rights in the alleged copyright and that our products are non-
infringing. The allegation of copyright violation is therefore in dispute, and at present unsupported.

Kammock claims ownership of a copyright, but does not identify any copyright application or
registration. In the Second Circuit, in which Kickstarter is located and jurisdictional consent is
hereunder provided, a valid copyright registration is required for any copyright lawsuit to be filed
by a U.S. citizen or entity. Kammock claims to be of Austin, Texas. Therefore, Kammock would
require a valid U.S. registered copyright to bring a proper lawsuit for copyright infringement. No
such valid U.S. registered copyright was provided. We believe this is because none exists and have
confirmed with Kammock’s counsel that they do not have any copyright applications or
registrations.

Kammock vaguely claims copyright protection in the design of the oval-shaped anchor points on
a hammock stand and a clamshell hammock holder. These design elements are not subject to
copyright protection under U.S. law.

First of all, any element that is in reference to the utility patent 11,330,893 claimed by Kammock
cannot be subject of copyright as copyrights do not extend to useful articles. Star Athletica, LLC,
v. Varsity Brands, Inc, 137 S. Ct. 1002, 1008. Nor does it protect the overall form, shape, or
configuration of a useful article. See id. at 1010, 1014. While the pictorial, graphic, or sculptural
features of the design of a useful article may be eligible for copyright protection, the features must
be able to be identified separately from, and are capable of existing independently of, the utilitarian
aspects of the article.

The Copyright Office will determine if the separable feature “would qualify as a protectable
pictorial, graphic, or sculptural work – either on its own or fixed in some other tangible medium
of expression – if it were imagined separately from the useful article into which it is incorporated.”
Id. at 1007. In this matter, the separable material would merely be an oval shaped piece of metal
or the clamshell shape from the holder.

The oval shaped piece of metal and the clamshell shape from the holder cannot be removed from
their utilitarian functions, as both are specifically designed to secure, clasp, hold onto, or connect
two different items. However, even if the aspects could be separated from their utilitarian function,
they would still not be subject to copyright protection.

Even if the separability test has been satisfied, the U.S. Copyright Office still must determine if
the design is sufficiently original to warrant registration. See Star Athletica, 137 S. Ct. at 1012 &
n.1. The term “original” means that the design must be “independently created by the author” and
must possess “at least some minimal degree of creativity.” Feist Publications, Inc. v. Rural
Telephone Service Co., Inc., 499 U.S. 340, 345 (1991). A standard oval and basic clamshell shape
lack the necessary degree of creativity to be protectable.




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Furthermore, the Copyright Act does not protect common geometric shapes, either in two-
dimensional or three-dimensional form. There are numerous common geometric shapes, including,
without limitation, straight or curved lines, circles, ovals, spheres, triangles, cones, squares, cubes,
rectangles, diamonds, trapezoids, parallelograms, pentagons, hexagons, heptagons, octagons, and
decagons. U.S. Copyright Office, Compendium of U.S. Copyright Office Practices § 906.01 (3d
ed. 2021) (emphasis added).

The oval metal piece would not be protected as a common geometric shape, and the clamshell
shape is just a curved line in a semi-circle shape. When separated from the utilitarian function of
the design, if even possible, the only possible remaining elements are common geometric shapes,
which are fundamentally not given protection as copyrights.

Therefore, Kammock has no valid copyright registration or even an application on which to rely,
Kammock would be unable to obtain any such copyright registration, and Kammock has no valid
copyright protection in the elements Kammock is attempting to vaguely claim are copyrightable.




                     Our Product Does Not Infringe Upon Kammock’s Patent
 Kammock’s letter also alleges patent infringement. Kammock asserts that Anymaka’s product
 infringes upon Kammock’s U.S. Patent No. 11,330,893 (‘893 Patent). Kammock’s assertions of
 patent infringement in a DMCA takedown notice are inappropriate. We would however like to
 take the opportunity to address the other alleged intellectual property infringement below
 including the completely baseless claim of patent infringement claim by Kammock.

 Anymaka’s product (“the product”) is different from ‘893 Patent claims and the product does
 not infringe upon any claim of ‘893 Patent.

 The structure of ‘893 Patent is to adapt various usage requirements in different physical space
 and conditions. The purpose is achieved by changing the footprint adjustment bar to adjust the
 covering area (dimensions between the frame’s contacts on the ground). While the purpose of the
 accused product is to achieve rapid folding and unfolding of the frame and save storage space.
 The pedestal of the product is used in as the center, with two supporting arms and four supporting
 feet are respectively connected to the pedestal. In an unfolded state, the two supporting arms are
 unfolded up to fix the hammock, and four supporting feet unfold down to the ground to support
 the whole system. In a folded state, the supporting arms and the supporting feet are gathered
 roughly in parallel to save storage space in idle state. In contrast, the structure as defined and
 claimed in ‘893 Patent solves the problem of “The broad range of users and use contexts for
 suspension seats presents significant opportunities for improvement in the design of suspension
 seat frames, both in terms of accommodating hetero-geneous users and in terms of adjusting the
 frames’ footprints within a physical space.” See column 1 lines 30-35 of ‘893 Patent. ‘893 Patent




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 provides solution to this problem by describing and claiming “an adjustable-footprint suspension
 seat frame includes three or more feet, a first cantilever arm with a first anchor for a suspension
 seat, a second cantilever arm with a second anchor for the suspension seat and a first footprint
 adjustment bar connecting the first cantilever arm to the second cantilever arm.” See column 1
 lines 41-46 of ‘893 Patent.

 Among other limitations, claim 1 of ‘893 Patent has the following limitation: “a first footprint
 adjustment bar connecting the first canti-lever arm to the second cantilever arm.” See ‘893 Patent
 column 12 lines 43-44. The accused product does not have a first footprint adjustment bar as
 documented in Claim 1 of ‘893 Patent. The first footprint adjustment bar of claim 1 is actually
 used to adjust the dimensions between the feet, while the product doesn’t have the parts that
 achieve the corresponding function. In the claim chart Kammock marked the product’s pedestal
 as being the same as to claim 1’s limitation of “footprint adjustment bar.” The pedestal in the
 product does not provide adjustment. The footprint of our product is fixed rather than adjustable.

 Our analysis of the Patent against the accused product shows that there is no infringement either
 direct or under the doctrine of equivalence. There is no direct infringement because the product
 is missing the required “footprint adjustment bar” as described above. There is no infringement
 under doctrine of equivalence because there is no element in the accused product that corresponds
 to footprint adjustment bar. The result and the way the result is achieved by the pedestal of the
 accused product are very different than the footprint adjustment bar of the Patent. As a result
 function-way-result test fails.

 Kammock’s baseless patent infringement claim should be given no weight at all. Furthermore,
 Kickstart’s own rules state that the only way to take down a campaign for patent infringement
 will require a court order. There is no court order in this instance as no Court case has been filed.
 Even if Kammock initiates a lawsuit in Federal District Court, they will not be successful in
 obtaining a court order as there is no infringement. Anymaka is confident that there is no
 infringement and is willing to defend any potential lawsuit for patent infringement and at the
 same time indemnify Kickstart against any lawsuit asserting contributory infringement.

                          Kammock Does Not Have a Valid Trade Dress

Kammock’s letter alleges trade dress infringement based on the “clamshell hammock holder”
and “anchor” portion of the product.

The design claimed by Kammock cannot be a trade dress because the design has no acquired
distinctiveness and the product design is functional.




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The claimed trade dress consists of a nondistinctive product design that is not registerable on the
Principal Register without sufficient proof of acquired distinctiveness. Trademark Act Sections 1,
2, and 45, 15 U.S.C. §§1051- 1052, 1127; Kammock cannot establish sufficient proof of
distinctiveness of the alleged Trade dress.

A product design can never be inherently distinctive as a matter of law; consumers are aware that
such designs are intended to render the goods more useful or appealing rather than identify their
source. See Wal-Mart Stores, Inc. v. Samara Bros., 529 U.S. at 212-13, 54 USPQ2d at 1068-69;
In re Slokevage, 441 F.3d at 962, 78 USPQ2d at 1399. Thus, consumer predisposition to equate a
product design with its source does not exist. Wal-Mart Stores, Inc. v. Samara Bros., 529 U.S. at
213, 54 USPQ2d at 1069.

Functionality

The “clamshell hammock holder” and “anchor” portion of the product.appear to be a functional
design for the identified goods. Trademark Act Section 2I(5), 15 U.S.C. §1052(e)(5); see TMEP
§1202.02(a)-(a)(ii). A feature is functional if it is “‘essential to the use or purpose of the [product]’”
or “‘it affects the cost or quality of the [product].’” TrafFix Devices, Inc. v. Mktg. Displays, Inc.,
532 U.S. 23, 32, 58 USPQ2d 1001, 1006 (2001) (quoting Qualitex Co. v. Jacobson Prods. Co.,
514 U.S. 159, 165, 34 USPQ2d 1161,1163-64 (1995)); Inwood Labs., Inc., v. Ives Labs., Inc., 456
U.S. 844, 850 n.10, 214 USPQ 1, 4 n.10 (1982); TMEP §1202.02(a)(iii)(A).

Determining functionality normally involves consideration of one or more of the following factors,
commonly known as the Morton-Norwich factors: (1) The existence of a utility patent disclosing
the utilitarian advantages of the design sought to be registered, (2) advertising materials of the
applicant that tout the design’s utilitarian advantages, (3) the availability to competitors of
alternative designs, and (4) facts indicating that the design results in a comparatively simple or
inexpensive method of manufacture. In re Becton, Dickinson & Co., 675 F.3d 1368, 1374-75, 102
USPQ2d 1372, 1377 (Fed. Cir. 2012) (citing In re Morton-Norwich Prods., Inc., 671 F.2d 1332,
1340-41, 213 USPQ 9, 15-16 (C.C.P.A. 1982)); TMEP §1202.02(a)(v).

It is not required that all four factors be proven in every case, nor do all four factors have to
weigh in favor of functionality to support a functionality refusal. Poly-America, LP v. Ill. Tool
Works, Inc., 124 USPQ2d 1508, 1514 (TTAB 2017) (citing In re Change Wind Corp., 123
USPQ2d 1453, 1456 (TTAB 2017); In re Heatcon, Inc., 116 USPQ2d 1366, 1370 (TTAB 2015));
TMEP §1202.02(a)(v).

Further evidence and considerations regarding functionality will be discussed according the
Morton-Norwich Factors:

Existence of a Utility Patent

There is a utility patent disclosing the utilitarian advantages of the design sought to be registered.
US Patent Number 11,330,893, (“The Patent”) the very patent Kammock used in their letter to
Kickstarter. The utility patent discloses that the shape and design of the device is dictated by
functionality. The “clamshell hammock holder” that is claimed in the letter, the Utility Patent




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addresses as a “cradle”. The Patent discloses the functionality under Column 6 lines 1-7 explaining
that the cradles comprise guides disposed at the ends of the arms to “support and spread the tensile
members of a suspension sI”... “enhancing the comfort and ease of entry to the hammock.”
Furthermore, claim 1 of the Patent, column 12 lines 32 and 39, claims the first cradle and second
cradle as part of the invention. The Patent also discloses the function of the anchors, which are
referred to in the Patent as side clips in Column 5 line 51-55 and again in column 3 lines 43-48.

These cradles and anchors/side clips discussed in the Patent are the exact product design Kammock
is attempting to claim is a trade dress. However, A utility patent claiming the design features at
issue is strong evidence that those features are functional. TrafFix Devices, Inc. v. Mktg. Displays,
Inc., 532 U.S. 23, 29-30, 58 USPQ2d 1001, 1005 (2001); In re Becton, Dickinson & Co., 675 F.3d
1368, 1375, 102 USPQ2d 1372, 1377 (Fed. Cir. 2012); see TMEP§1202.02(a)(iv), (a)(v)(A).
However, a patent need not claim the exact configuration for which trademark protection is sought
to prove functionality. See In re Becton, Dickinson & Co., 675 F.3d at 1375, 102 USPQ2d at 1377
(citing TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. at 32-33, 34-35, 58 USPQ2d at
1005). “[S]tatements in a patent’s specification illuminating the purpose served by a design may
constitute equally strong evidence of functionality.” In re Loggerhead Tools, LLC, 119 USPQ2d
1429, 1432 (TTAB 2016) (quoting In re Becton, Dickinson & Co., 675 F.3d at 1375, 102 USPQ2d
at 1377)

The Availability of Competitors of Alternative Designs

The product design is incapable of functioning as an indicator of source because it is a basic design
in the industry used by others. There are multiple products by sother manufacture with the same
design can be/ The design of the cradle and anchors/clips is common in the marketplace and
alternative designs are not as prevalent.

Distinctiveness

TMEP 1202.02 (b)(i) indicates a product design trade dress is never inherently distinctive and
is not registrable on the principal register unless the applicant establishes the mark has acquired
distinctiveness. Furthermore, common or basic shapes are not registrable on the Principal
Register under a 2(f) acquired distinctiveness. Here, the accused trade dress is a product design
as the Applicant is trying to claim part of a patented product. Applicant is not trying to trademark
the product packaging, but rather a key component of the patented product itself. In “close
cases,” courts have been instructed to err on the side of classifying trade dress as product design
instead of product packaging, thereby requiring proof of secondary meaning. See Wal-Mart
Stores, Inc. v. Samara Bros., 529 U.S. 205, 215, 54 USPQ2d 1065, 1070 (2000). Furthermore, as
stated above, the product design is incapable of functioning as an indicator of source because it is
basic design in the industry used by others. The fact the product design is used by others in the
industry, clearly shows the use is not substantially exclusive, which is required to prove
distinctiveness has been acquired.

In view of the above, the overall design of the applied for mark is functional and lacks
distinctiveness.
                                         CONCLUSION




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For all of the foregoing reasons, each and every one of Kammock’s claims that we have
infringed on their intellectual property are completely frivolous and have no basis in fact or law.
All of the theories that Kammock has laid out are baseless and are rights that Kammock either
does not, or cannot, have: (1) Kammock claims copyright infringement but has not filed for a
copyright application and therefore does not have a copyright registration – and even if
Kammock had applied for protection, it would not be able to, as a matter of law have protection
for simple useful product design elements. (2) Kammock claims patent infringement but the
required element of an adjustable footprint adjustment bar in the patent claims is simply not
present in our product which instead has a fixed pedestal. (3) Kammock claims trade dress
infringement but their product design elements they claim are functional and cannot have the
requisite distinctiveness to obtain trade dress protection. Accordingly, through this DMCA
counter notice we request an immediate reinstatement and resumption of our Kickstarter
campaign and any other content Kickstarter may have taken down or removed in response to
Kammock’s DMCA takedown request.


I declare under the penalty of perjury laws of the United States of America that this notification
and the information contained herein is true and correct.


               August 22, 2023__              ________________________________
               Date                                 XI Lin




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